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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-5”
JUDGE ENGELHARDT
MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO ALL CASES

STIPULATION OF SETTLEMENT

It is hereby Stipulated and Agreed, by and between Plaintiffs and Settlors (as those terms
are hereinafter defined), that all claims set forth in the Pending Actions are settled, compromised
and dismissed on the merits and with prejudice as to the Settlors on the terms and conditions set
forth in this Stipulation of Settlement (hereinafter “Agreement” or “Settlement Agreement”),

subject to the approval of the Court.

L DEFINITIONS

As used in this Agreement and the attached exhibits (which are an integral part of this
Agreement and are incorporated in their entirety by reference), the following terms have the
following meanings, unless a section or subsection of this Agreement or its exhibits provides
otherwise:

A. “Agreement” or “Settlement Agreement” means this Stipulation of Settlement and

the attached exhibits.
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B. “Attorneys’ Fees and Expenses” means such funds as may be awarded to the PSC
by the Court, for distribution to the PSC and/or any Class Member’s attorney. out of the
Settlement Fund in connection with the MDL or any Pending Action.

C. "Claim" means a request for Class Benefits that is submitted by a Class Member
or his or her authorized representative to the Special Master in accordance with Section VI
herein.

D. "Claim Form" means the document attached hereto as Exhibit B.

E, “Claim Form Deadline” means the deadline set by the Court by which Claimants
are required to submit a Claim to the Special Master as provided in this Agreement

F. "Claimant" is a Class Member, or the legal or authorized representative of a Class

Member, who submits a Claim to the Special Master.

G. “Claims Process” means the process and procedure for the submission,
evaluation and resolution of Claims, as more particularly described in Section VI of this
Agreement.

H. “Class” and “Class Members” means:

(a) All individuals who claim Damages and who are named as Plaintiffs in any and all of
the Pending Actions as of the time this class settlement is submitted for Court approval at a

Fairness Hearing; and

(b) All individuals not included in subparagraph (a), who claim to have:

(i) been exposed fo formaldehyde in an EHU that (1) was installed,
maintained, or refurbished by any Contractor; and (2) was provided by FEMA to persons

displaced by Hurricanes Katrina and/or Rita: and

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(ii) suffered or experienced, as of the date of the final Court approval of this
class settlement, any discomfort, illness, sickness (medical, psychological or psychiatric),

symptom, complamt, disability, or loss of any kind as a result of such exposure.

i “Class Benefits” or “Class Relief’ means those monetary benefits to be given to
Entitled Class Members.
J. “Class Benefit Formula” means the formula, established by the Special Master

and approved by the Court. to establish payment amounts from the several Settlement Funds, as
appropriate, to all Entitled Class Members. The Special Master shall submit the Class Benefit
Formula to the Court for approval five (5) days prior to the Fairness Hearing.

K. "Class Notice Package" means the notice package. as approved in form and
content by the PSC, the Settlors and the Court, and attached hereto as Exhibit E, to be provided
to potential Class Members as set forth in Section V herein.

L. “Class Representative” shall mean and refer to the those Class Members whose
names will be submitted to the Court for consideration as adequate representatives of the Class
and who will be designated by the Court to appear on behalf of and to represent the Class in the
Action pursuant to Rule 23 of the Federal Rules of Civil Procedure. Named as provisional class
representatives for precertification purposes are those persons identified on Exhibit F attached
hereto.

M. “Court” means the United States District Court for the Eastern District of
Louisiana, New Orleans Division, Hon. Kurt D. Engelhardt presiding.

N. “Damages” means any and all elements of relief, remedies, or recovery of
whatsoever nature, whether now known or now unknown, existing now or arising 1n the future,
recognized by the law of any jurisdiction, including, but not limited to money damages, past and

future medical expenses, economic loss, property loss, compensatory, equitable, punitive or

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exemplary damages, loss of past or future income and wage earnings capacity, unpaid wages,
past and future physical impairment and disability, loss of enjoyment of life, past and future pain,
suffering, and mental anguish. past and future disfigurement, wrongful death, loss of past and
future society, companionship, and consortium, future joss of life, hearing loss, fear of injury.
fear of future injury, physical injury and disease of the head, heart, chest, lungs, back, neck. hips,
extremities, and all other parts of the body, disease or other inyury related to alleged exposure to
formaldehyde, and harm not yet known resulting from exposure to formaldehyde (including, but
not limited to sensory uritation of the eyes, nose, and throat; upper respiratory tract pathology:
pulmonary function: asthma and atopy; neurologic and behavioral toxicity; reproductive and
developmental toxicity; and immunological toxicity), cancer of any type. classification, or
nature, psychological injuries. psychiatric and psychological disorders and syndromes,
depression and anxiety, lost wages, repatriation expenses, claim for transportation, court costs,
and any other types of damages cognizable under any law, whether now known or now unknown
or now manifested or not manifested.

0. “Disbursing Account” means and refers to the account to be established, upon
final approval by the Court, for disbursement of settlement proceeds.

P. “EHU” means Emergency Housing Unit, which is a travel trailer, park model
trailer or other recreational vehicle installed, maintained, or refurbished or alleged to have been
installed and/or maintained, or refurbished by a Contractor and that was provided by FEMA for
use as emergency housing for individuals after Hurricanes Katrina and Rita) An EHU
specifically does not include a FEMA-provided mobile home or manufactured house for
purposes of this proposed class settlement.

Q. “Entitled Class Member” means a Class Member whose Claim(s)

has been adjudged (1) timely, and (2) valid and payable by the Special Master based upon the
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Claims Process set forth in Section VI herein.

R. “Fairness Hearing” means the hearing at or after which the Court will make a
final decision whether to approve this Settlement Agreement as fair, reasonable and adequate.
The Parties will propose a date to the Court for this hearing.

S. “FEMA” means the Federal Emergency Management Agency, US Department of
Homeland Security.

T. "Final Order and Judgment" means the Court’s Order giving its final approval to
the settlement and this Agreement, and the judgment entered pursuant to that Order, as
contemplated in Section XI of this Agreement and attached as Exhibit G hereto.

U. "Final Settlement Date” means the date on which the Final Order and Judgment
approving this Agreement becomes final. For purposes of this definition. the Final Order and
Judgment shall become final:

(i) if no appeal is taken therefrom, ten days after the time to appeal
therefrom has expired;

(il) if any appeal is taken therefrom, ten days after the date on which
all appeals therefrom, icluding petitions for rehearing or
reargument, petitions for rehearing en banc and petitions for
certiorari or any other form of review, have been finally disposed
of in a manner resulting in an affirmance of the Final Order and
Judgment; or

Gi) ona date after entry of the Final Order and Judgment, which date
counsel for the Parties agree to in writing.

V. “Individual Settlement Sheet” means the individual sheets which are collectively
attached to this Settlement Agreement as Exhibit A and which have been executed by each
Settlement Group. Each Individual Settlement Sheet shall contain: (1) the names of the settling

Contractors(s) and/or their insurer(s); (2) the names of the counsel for the Contractors(s) and/or
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Insurer(s); (3) the Settlement Amount to be paid by that Settlement Group; and (4) any particular
provisions unique to Plaintiffs and/or that Settlement Group.

W. “Lien Resolution Administrator” or “LRA” means the Garretson Firm Resolution
Group, Inc., retained to perform certain functions as described in more detail in Section XIV.

Xx. “Installed” means installed an EHU and/or any component parts thereof under
authority of any contract with FEMA.

y. “Contractor” means a Settlor that installed, maintained or refurnished an EHU.

Z. “MDL” means the Multi-District Litigation proceeding captioned “Jn Re FEMA
Trailer Formaldehyde Product Liability Litigation”, MDL No. 1873 (E.D. La, New Orleans
Division).

AA. “Opt-Out” means a request for exclusion from the Class as provided in Section
VU of this Settlement Agreement.

BB. “Opt-Out Deadline” means August 17, 2012, the final day by which a Class Opt-
Out must be received by the PSC to be valid.

CC. “Parties” means Plaintiffs and Settlors collectively and, where applicable, their
respective counsel. ‘‘Party” means a Plaintiff or a Settlor.

DD. “Pending Actions” shall mean and refer to all of the civil lawsuits, in state or
federal court, filed by putative Class Members against any of the Settlors, whether or not such
civil lawsuits have been transferred into, are pending in, or have been remanded from the MDL.

EE. “Plaintiff or “Plaintiffs” means those Class Members listed on Exhibit F and/or
any other Class Members added to the Action as named plaintiffs, in their individual and

representative capacities.
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FF. “Preliminary Approval Order" means the Order to be entered by the Court
concerning notice, administration and the Fairness Hearing, as contemplated in Section IV of this
Agreement.

GG. "PSC" means Plaintiffs’ Steering Committee, comprised of the following counsel
appointed by the Court:

Gerald E. Meunier

Justin 1. Woods

Gainsburgh, Benjamin, David, Meunier & Warshauer, LLC
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Hilliard Munoz Guerra, L.L.P.
719 8S. Shoreline Boulevard
Suite 500
Corpus Christi, Texas 78401
HH. “Publication Notice’ means the notice published in accordance with the
Settlement Notice Plan.
IL. "Release" means the release and waiver set forth in Section IX of this Agreement.
JJ. “Released Claims" means any and all claims, existing now or arising in the future,
for any Damages, injunctive relief or other equitable relief against any of the Released Parties
that any Releasor has, or may have had, or may have in the future, including but not limited to
those that have been, or that could have been raised in any action, including the Pending Actions,
regardless of whether the claimed injuries and/or damages are not yet known or manifested or
whether such claim is known or unknown, filed or unfiled, asserted or not asserted in any action,
including the Pending Actions, and regardless of the legal theory involved. including, but not
limited to, all of the claims set forth in Section [X herein. The Contractors specifically reserve
their tort indemnity, contractual indemnity, additional insured, and contribution rights against
their subcontractors and their subcontractors’ insurers. All such rights are not released and are
fully preserved under this agreement.
KK. “Releasees" or “Released Parties” means the Settlors, including but not limited
to, all entities comprising each and every Settlement Group, and each of their past, present and

future parents (including intermediate and ultimate parents), subsidiaries, predecessors, affiliates,

companies, facilities and plants, successors and assigns, and each of their respective past. present
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and future officers, directors, employees, general agents, agents, representatives, attorneys, heirs,
administrators, executors, insurers (which do not imclude subcontractor insurers on whose
policies Contractors may be additional insureds (1) unless the insurers are expressly listed by
name as a Settlor on Exhibit “A”; or (2) unless CH2M HILL is an additional insured on a
subcontractor's policy), predecessors, successors and assigns, or any of them, including any
person or entity acting on their behalf or for their benefit or at the direction of any of them,
together with any subcontractors of the Settlors and each of their subcontractors’ past, present
and future parents, subsidiaries, subcontractors, predecessors, affiliates, successors, and assigns,
and each of their respective past, present and future officers, directors, employees, agents,
representatives, attorneys, heirs, administrators, executors, predecessors, successors and assigns,
but the release of such Settlor’s subcontractors extends only to claims against them by Class

Members which arise from work of such subcontractors as subcontractors to the Settlors.

LL. “Releasor” or “Releasors” means any Class Member who does not timely submit
an Opt-Out pursuant to Section VII herein, anyone representing that Class Member or acting on
his or her behalf or for bis or her benefit, and those Class Members’ agents, attorneys.

predecessors, successors, insurers, administrators, heirs, executors and assigns.

MM. “Settlement Amount” shall mean and refer to the total amount to be paid by each
Settlement Group as reflected on each Settlement Group’s Individual Settlement Sheet (Exhibit
A), which amount will be deposited in the Registry of the Court under this Settlement
Agreement.

NN. “Contractors” Settlement Fund” shall mean that portion of the total of all Settlement
Amounts (initially paid into the registry of the Court as the Settlement Amount by all Settlors)
remaining at any time after addition of all interest earned or accrued thereon, and deduction of

any court-approved disbursements.
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OQ. “Settlement Group” shall mean those Settlors listed on an Individual Settlement
Sheet.

PP. “Settlement Notice Plan” or “Notice Plan” means the comprehensive plan
approved in form and content by Class Counsel, Settlors’ Counsel and the Court, to notify the
Class of the proposed settlement of the Pending Actions, which articulates the manner and forms
of notice. A copy of the Settlement Notice Plan proposed by the Parties for the Court’s approval
is attached hereto as Exhibit D.

QQ. “Settlor” means any of those entities (Contractors and their insurers) identified on
Individual Settlement Sheets which are attached hereto collectively as Exhibit “A” and
incorporated into this Settlement Agreement.

RR. — Settlors’ Counsel means the lawyers who represent the Settlors, as indicated on
the Individual Settlement Sheets.

SS. "Special Master" means any third-party agent or administrator who the PSC and
Settlors’ Counsel agree upon with the Court’s approval, and who the PSC then retains, to help
implement the terms of this Agreement.

TT.  “IA/TAC Settlement Group” means the Settlement Group consisting of Bechtel
National, Inc., CH2M HILL Constructors, Inc., Fluor Enterprises, Inc., and Shaw Environmental,
Inc., and their respective insurers, whose Settlement Amount is an undifferentiated sum shared
privately among the members.

UU. “Maintained” means provided maintenance of an EHU and/or any component
parts thereof under authority of any contract with FEMA.

VV. “Refurbished” means to refurbish, renew, repair or make changes to any EHU

and/or any component parts thereof under authority of any contract with FEMA.

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U. INTRODUCTION AND STATUS OF LITIGATION

A. After the landfalls of Hurricanes Katrina and Rita, the homes of hundreds of
thousands of citizens of the United States who resided along the Gulf Coast were rendered
uninhabitable, leaving these citizens homeless. FEMA provided housing for these citizens, in
part by acquiring EHUs to be installed, maintained, or refurbished by certain Contractors.

B, Plaintiffs allege that they were exposed to hazardous levels of formaldehyde in
EHUs. The Settlors deny these allegations.

Cc. Substantial testing, discovery, document production, motion practice and
litigation have been completed in the MDL and the Pending Actions, such that the parties hereto
are in a reasonable position to assess the factual and legal merits and weaknesses of their
respective claims and defenses.

D. As of this date, the parties to the MDL have conducted three bellwether jury trials
to verdict, all of which have resulted in defense verdicts and have awarded no money or benefits
to the bellwether plaintiffs.

E Substantial time and effort have been expended by the parties and their counsel in
negotiating this Settlement Agreement and the settlement contemplated herein.

F. As a result of the extensive litigation completed or in progress, as well as the
information at hand, the results of the bellwether trials to date, the Plaintiffs and the Settlors in
the Pending Actions conducted negotiations for a global settlement of the Pending Actions,
taking in account the followmeg considerations: (a) the merits of the complaints or the lack
thereof; (b) the relative strengths and weaknesses of the Plaintiffs’ claims and their respective
positions vis-a-vis the issues of liability and damages: (c} the time. expense and effort necessary
to maintain the Pending Actions to conclusion; (d) the possibilities of success weighed against

the possibilities of loss; (e) the range of potential judgment values, if any, that should be

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awarded: (f) the legal complexities of the contested issues in the Pending Actions; (h) the risks
inherent in protracted litigation; (4) the magnitude of benefits to be gained from immediate
settlement in light of both the maximum potential of a favorable outcome with the attendant
expense and likelihood of an unfavorable outcome; (j) the strong possibility of no recovery to
any potential Class Members whatsoever in light of the past results of the beilwether trials; and
(k) the faimess of benefits to or from an immediate settlement under all of the foregoing
considerations.

G. In entering into this settlement, each of the Settlors has denied. and continues to
deny, any liability, wrongdoing or responsibility in connection with the claims made in MDL.
including but not limited to the Pending Actions, and believes that such claims are without merit
and that such claims are barred in whole or in part. Each Settlor that is an insurer denies that
any policies issued by it provides coverage for the claims made in the MDL or Pending Actions.

H. The PSC has evaluated the clatms in the Pending Actions from a settlement
perspective, considering the nature and extent of the alleged injuries and the alleged liability of
the Released Parties, the results of the bellwether trials, and the costs of prosecuting claims in
light of the nsks of zero or limited recovery.

L In light of the foregoing, the consensus of the Parties to this Settlement
Agreement is that payment of the proposed Settlement Amount applicable to each Settlement
Group and the management thereof under the supervision of the Court would more likely result
in the greatest benefit to the potential Class Members in the Pending Actions. Accordingly, as
more fully described in Section IV below, the Parties to this Settlement Agreement shall submit
this Settlement Agreement and the exhibits attached hereto to the Court for approval, pursuant to
a Joint Motion for Preliminary Approval of Proposed Class Settlement to be heard on the Court’s

docket at a time to be determined by the Court.

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Wi. SETTLEMENT RELIEF

A. Special Master. The Parties shall jointly agree on and the Court shall appomt a
Special Master for this settlement. Pursuant to this Agreement, the availability of Class Relief to
a Class Member will be determined by the Special Master’s evaluation of the Claim Form and
other materials submitted by the Claimant, as well as any additional materials that the Special
Master may obtain that are related to each Claim.

The fees of the Special Master shall be payable from the Settlement Fund, subject to
Court approval. In the event this Court does not give final approval to this Settlement, the
Special Master shall immediately stop any and all activity on this case, and will not be paid any
fees for activity taking place thereafter, and the charges of the Special Master shall be borne
equally (50/50) between the PSC and the Settlement Groups, up to a maximum amount set out in
Section IIT] (B) below (to be shared pro-rata by or on behalf of individual Contractors} and any
remaining charges above that maximum amount shall be paid by the PSC, unless otherwise
provided in a particular Settlor’s/Settlement Group’s Memorandum of Understanding.

B. Settlement Fund

Each Settlement Group shall pay the Settkement Amount reflected on each Individual
settlement Sheet. The total of the Settlement Amounts, after the addition of any earned interest
and the subtraction of Court-approved disbursements, shall be the Contractors’ Settlement Fund
for the settlement of all Released Claims pertaining to this Class Settlement. There is no joint
and several liability among the Settlors or Settlement Groups for the payment of Settlement
Amounts. Thus, each Settlement Group is responsible for payment of only that Settlement
Amount reflected on its Individual Sheet (Exhibit A), in the respective shares agreed to by
members of that Settlement Group and no Settlement Group shall be responsible for more than

that Settlement Amount. Further, each Settlor is not jomtly and severally liable with other

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Settlors in the same Settlement Group and is only responsible for their individual amounts and
not for other amounts.

Any Class Representative’s Award shall be paid from the Settlement Fund as determined
by the Special Master, with such amount(s) submitted to the Court prior to the Fairness Hearing
for approval.

All attorneys’ fees for any PSC or non-PSC attorney, or any other attorney representing a
Class Member, shall be paid out of the Settlement Fund and determined by the PSC, and shall be
approved by the Court.

Any Settlement Group that has not deposited its Settlement Amount into the registry of
the Court prior to signing this Settlement Agreement, shall deposit the Settlement Amount into
the registry of the Court:

(a) as required by any agreement or Memorandum of Understanding applicable to that
Settlement Group; or

(b) If no such agreements or Memoranda of Understanding apply, within sixty (60) days
of the Court’s order granting Preliminary Approval of this Settlement.

Upon final approval of the Settlement, a Disbursing Account shall be established. The
Parties agree that all funds deposited into the Court’s registry shall be transferred to the
establishing Disbursing Account and that all expenses associated with the Disbursing Account
shall be paid from the global settlement fund.

This Settlement Agreement provides that certain fees and expenses will be deducted from
the Contractors’ Settlement Fund, such as attorneys’ fees, notice costs, Special Master fees, all
fees related to the Disbursing Account, and others. There shall be a reserve established for all of
the fees and expenses listed in this Settlement Agreement that are to be deducted from the

appropriate Settlement Fund(s), and that reserve shall be 48% of the Settlement Fund(s), globally

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and individually, such that the total of all of the fees and expenses to be deducted from the
Settlement Fund(s) shall not exceed 48% of each Settlement Fund. That reserve does not include
monies to be deducted from a Class Benefit to an individual Class Member pursuant to section
(AIV) (Medicare Reporting and Lien Resolution) herein to satisfy a lien. To the extent that any
of these combined fees and expenses exceed 48% of an appropriate Settlement Amount for any
reason, the Claimant or Claimant’s counsel shall be responsible for the overage. Settiors shall in
no way be responsible or liable for any such overage.

The Special Master and/or plaintiffs’ counsel shall provide each Settlor with a per
plaintiff allocation of the Contractors’ Settlement Fund and all amounts deducted therefrom.

In the event this Court does not give final approval to this Settlement, the entire
Settlement Amount for each Settlement Group shall be returned to that Settlement Group within
five (5) days of any such Court order denying final approval of the Settlement, after deducting
the amount needed to pay one-half of the unpaid (1) costs of class notice, and (2) charges of the
Special Master, subject to a $35,000 pro-rata limitation for the Settlement Groups as provided
above, unless a particular Settlor’s Memorandum of Understand provides otherwise. Any
remaining costs or charges shali be paid by the PSC.

C, No Further Payment From Settlors.

The PSC and Settlors further expressly agree that, except for the payment of their
respective Settlement Amounts, and as set forth above in the event the settlement is not Court-
approved, under no circumstances whatsoever shail Settlors be responsible for paying any
monies, benefits. costs, administrative costs. expense or attorneys’ fees in connection with this
Settlement Agreement, nor will Settlors be required to take any action or incur any liability or

pay any expense or be required to do any other thing, except as expressly provided herein.

IV. REQUEST FOR PRELIMINARY APPROVAL.

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A. The Parties shail submit this Settlement Agreement to the Court for preliminary
approval. This submission shall be made by means of a Joint Motion for Preliminary Approval
of Proposed Class Settlement signed by the PSC on behalf of the Class and the Settlors, with an
attached proposed form of Preliminary Approval Order substantially in the form attached hereto
as Exhibit C.

B. Failure of the Court to issue the Preliminary Approval Order attached hereto as
Exhibit C shall be sufficient cause for the termination of this Settlement Agreement, but only
after a conference is held with the PSC, the Settlors, the Court, and the Special Master to attempt
to resolve those issues delaying or preventing the Court’s approval. Thereafter, if no such
resolution occurs, written notification of termination shall be provided to the PSC and Settlors’
Counsel by any terminating Party. If certain other Settlors and the Class, as represented by the
PSC, individually and on behalf of the Class, wish to proceed with the settlement after one or
more Settlors have terminated this Agreement, they may do so without objection by any
terminating Settlor, by resubmitting to the Court for preliminary approval a revised Settlement
Agreement.

C. Pursuant to 28 U.S.C. 1715, the Parties shall provide the required notice(s) and
accompanying documents to the United States Attorney General and the “appropriate state
official” under the terms of that statute within ten (10) days of the submission of the Preliminary

Approval Order to the Court.

V. NOTICE TO THE CLASS

A. List of Potential Class Members. By June 15, 2012, the PSC will create, at its
own expense and only to the extent that such information is reasonably available to the PSC, a

List of Potential Class Members. The List of Potential Class Members shall include: (1) any

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Class Member on whose behalf any member of the PSC has filed a complaint in any court
similar to the allegations made in this Action; (2) any plaintiff in a Pending Action; (3) any
Class Member who has been a client of the PSC and who is known to the PSC to have
formaldehyde-related claims covered by this Settlement Agreement: and (4) any Class Member
whose identity (name and address) is otherwise known to the PSC. The List of Potential Class
Members shall include, if the information is reasonably available to the PSC, the Class
Member’s name and address, the manufacturer(s) of the EHU(s) to which the Class member is
matched; the Contractor to which the Class member is matched and if the Class Member is
known by the PSC to be represented by counsel. the Class Member’s name, name of attorney
representing that Class Member, and the attorney’s address.

B. First Class Mail and Publication Notice.

Subject to the Court’s Preliminary Approval Order and no later than July 3, 2012, the
Special Master, at the PSC’s expense, shall send via First Class Mail, a Class Notice Package,
including a Claim Form, to each person (or that person’s attorney, if known by the PSC), listed
on the List of Potential Class Members. The Class Notice Package will among other things
inform Class Members of the Settlement and the Class Benefits available. Subject to the
Prelimimary Approval Order, the PSC will begin Publication Notice on the date set by the Court.

The Publication Notice shall inform Class Members that they may obtain a Class Notice
Package and Claim Form by any one of several methods including by calling a toll-free number
associated with notice. Publication Notice, as set forth in the Settlement Notice Plan, shall
constitute advertisements placed in newspapers in Louisiana, Texas, Alabama and Mississippi.
The Settlement Notice Plan, agreed to by the PSC and Settlors’ Counsel, is attached hereto as
Exhibit D. The Class Notice Package, agreed to by the PSC and Settlors’ Counsel, is attached

hereto as Exhibit E. The written Publication Notice for the print media is attached as Exhibit H.

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C. Class Notice Package

The Special Master shall send a Class Notice Package. including a Claim Form, to each
Class Member or Claimant who requests such package from the PSC as a result of receiving
Publication Notice, within seven (7) business days after the PSC receives the Class Member’s
request, provided such request is made at least ten (10) days prior to the Opt-Out Deadline.
Furthermore, the Special Master will employ other methods by which this Class Notice Package
can be obtained easily, including by downloading from a website and by toll free telephone
request.

D. Notice Costs.

All costs for Notice under this Settlement Agreement shall be the responsibility of the
PSC, subject to the PSC’s right to seek retmbursement for same from the settlement fund at a
time authorized by the Court. These costs include, but are not limited to the costs for Publication
Notice, and the costs associated with producing and mailing the Class Notice Package and with
making the package available by the other means consistent with the Settlement Notice Plan.
The cost of all notice to the class will be ultimately paid from the appropriate Settlement
Fund(s), and thus, if the Court enters an order giving final approvai to the Settlement, the PSC
shall be reimbursed by the appropriate Settlement Fund(s) for its expenses incurred in executing
the notice provisions of this Settlement Agreement, prior to any disbursements of the Settlement
Fund(s) to Class Members. If the settlement is not approved, the costs of notice shall be borne
equally (50/50) between the PSC and the Settlement Groups, up to a maximum amount set out
in Section II (B) above (to be shared pro-rata by or on behalf of individual Contractors) and any
remaining costs above that maximum amount shall be paid by the PSC. unless a particular

Settlor’s Memorandum of Understanding provides otherwise.

VI. CLAIM PROCESS

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A. All administrative costs for this settlement are to be paid out of the Contractors’
Settlement Fund, in the amounts and ratios determined by the Special Master.

B. The Special Master shall establish a Class Benefit Formula for payments by the
Special Master from the Contractors’ Settlement Fundto all Entitled Class Members. The
Special Master shall submit that Class Benefit Formula to the Court for approval! five (5) days
prior to the Fairness Hearing.

Cc. To submit a Claim, a Class Member must submit a Claim Form to the Special
Master, completed by or for the Claimant, according to the imstructions contained in the Claim
Form. The Claim Form must be postmarked on or before the Claim Form Deadline or will be
rejected as untimely. A Class Member, though otherwise bound by any judgments to be issued
by the Court, including the Final Order and Judgment and its release provisions. is not entitled to
Class Relief if he/she submits a Claim Form postmarked after the Claim Form Deadline, or,
subject to the provisions of sub-paragraphs D and E below, if the Claim Form submitted is not
complete. There shall be no appeal from the Special Master’s denial of Class Benefits based on
an untimely Claim Form. Within twenty (20) business days after the Claim Form Deadline, the
Special Master shall give the LRA a first list of all Claimants who submitted timely Claim Forms
complete with Class Member’s full name, address, gender, date of birth and social security
number.

D. Each Claim Form shall request proof that the Claimant suffered symptoms or
injuries as a result of exposure to formaldehyde in an EHU installed by a Contractor (and/or an
alleged insured of a Contractor) and dates of such exposure. Such proof must be received and
approved by the Special Master within ninety (90) days of the Claim Form Deadline. A Class
Member, though otherwise bound by any judgments to be issued by the court, including the Final

Order and Judgment and its release provisions, is not entitled to Class Relief if this proof is not

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timely provided by that deadline, and the Special Master’s denial of a Claim based on failure to
timely provide this proof is not appealable.

E. As to each Claim Form it receives, the Special Master shall ascertain whether the
Claimant is an Entitled Class Member solely based on the Claim Form submitted and any
supporting documents attached thereto. The Special Master shall determine whether a Claim
Form is complete. No Claim Form shall be adjudged complete by the Special Master if it does
not accurately provide the Class Member’s full name, address, gender. date of birth, and social
security number. and dates of exposure. If a Claim Form is incomplete, the Special Master has
the discretion to seek additional information if needed from the Claimant. The Special Master
may seek the Court’s assistance in obtaining any information needed to help complete a Claim
Form. All Claim Forms, however, should be complete as to an accurate full name of class
member, address of class member, gender, date of birth of Class Member, and social security
number of Class Member, Contractor and dates of exposure within forty-five (45) days after the
Claim Form Deadline, and if Claimant has not provided such requested information by that date,
the Special Master shall deny the Claim as incomplete and untimely. Within thirty-five (35)
days after the Claim Form Deadline, the Special Master shall give the LRA a second and final
list of all Claimants who submitted timely Claim Forms initially incomplete, but later complete
with Class Member’s full name, address, gender, date of birth and social security number.

F. The PSC and individual Plaintiffs’ counsel shall provide the Special Master with
copies of all Plaintiffs’ Fact Sheets produced in this Action by the Claim Form Deadline. For
those Class Members for whom the PSC provides the Special Master with a copy of his or her
Plaintiff's Fact Sheet. such Plaintiff's Fact Sheet shall qualify as a submitted and timely Claim
Form, provided that it contains (1) the Class Member’s full name, address, gender, date of birth,

social security number, and dates of exposure, or provided that such information is given to the

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Special Master within thirty (30) days after the Claim Form Deadline: and (2) proof that the
Claimant suffered symptoms or injuries as a result of exposure to formaldehyde in an EHU
installed by a Contractor, or provided that such proof is given to the Special Master within ninety
(90) days after the Claim Form Deadline. All provisions relevant to Claim Forms herein apply to
Plaintiff's Fact Sheets submitted by the PSC to the Special Master as Claim Forms.

G. The Special Master shall notify a Claimant if he concludes that such Claim is not
the Claim of an Entitled Class Member. Actions and decisions of the Special Master as to
whether a Claimant is an Entitled Class Member, with the following exceptions. may be
appealed to the District Judge presiding over the Action, if such appeal is filed within fourteen
(14) days after the Special Master’s decision. The District Judge’s decisions on appeal shall be
final and non-appealable pursuant to the terms of this Settlement Agreement. The costs of any
appeal shall be paid by the Contractors’ Settlement Funds. The following decisions of the
Special Master are not appealable: (1) denial of a Claim based on the Claim Form not being
postmarked on or before the Claim Form Deadline; (2) denial of the Claim based on a
Claimant’s failure to accurately and timely provide the Class Member’s full name, address.
gender. date of birth. and social security number, Contractor and dates of exposure, within thirty
days after the Claim Form Deadline: and (3) denial of a Claim Form based on the Claimant’s
failure to timely provide proof that the Class Member was exposed in an EHU installed by a
Contractor.

H. No payments shall be made by the Special Master on any Claim until after (1) the
Final Settlement Date; (2) the Settlors have received a Formal Repayment Agreement, or similar
document showing satisfaction and discharge of any statutory claim to any Class Member’s
Class Relief or any portion thereof, by all relevant governmental authorities, including Medicare,

any relevant state Medicaid agency, TRICARE, the Veteran’s Administration, and Indian Health

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Services, and (3) the Special Master receives a release agreement signed by each Claimant
and/or Class Representative. The Special Master shall have authority to re-allocate settlement
funds in all cases where the Claimant fails to claim or collect an allocation made through the
Special Master’s protocol.

I. The Special Master shall provide to the Settlors (a) a list of the Claimants approved for
payment, (b) a copy of each release agreement signed by any Claimant and/or Class
Representative, and (c) a list of the amounts each Claimant approved for payment to receive
from the Contractors’ Settlement Fund.

VU. = OPT-OUTS

A. Any potential Class Member who wishes to be excluded from the Class must mail
a written request for exclusion to the PSC, known as an “Opt-Out,” at the address provided in the
Class Notice, with a mandatory statement as to which Contractor installed, maintained, or
refurbished their EHU and the address of install related to the claims of the Class Member. The
Opt-Out must state the following to be valid: (@) identify the Class Member’s name, address and
phone number, (ii) identify which Contractor (and/or alleged insured) the Class Member has
claims against, and (ili) state that the Class Member wishes to be excluded from the Class. The
request for exclusion must be received by the PSC by the Opt-Out Deadline. The PSC’s decision
as to whether a request for exclusion is or is not timely and received by the Opt-Out Deadline is
final and binding. A list reflecting all timely requests for exclusion, identifying the person
requesting exclusion and the Contractor the Class Member has claims against, shall be assembled
by the PSC and filed with the Court at or before the Fairness Hearing. The PSC shall provide
that list to Settlor’s Counsel no later than twenty-one (21) days before the Fairness Hearing.

B. Any potential Class Member who 1s not excluded by the filing of a timely written

request for exclusion by the Opt-Out Deadline and/or who does not provide the statement as to

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which Contractor the Class Member has claims against shall be bound by all subsequent
proceedings, orders and judgment in this Action, even if he or she has pending, or subsequently
initiates, litigation, arbitration or any other proceeding against the Settlement Group for any of
the Released Claims.

C. If the PSC receives any Opt-Outs identified for any particular Settlement Group,
this Settlement Agreement is voidable at the discretion of that Settlement Group. Such decision
to void the Settlement Agreement must be made within fourteen (14) days after the Settlement
Group(s) is provided with the list of exclusions/Out-Outs described in Section VII (A) above.
Should any Settlement Group decide to void the Settlement Agreement pursuant to this
paragraph, the Settlement Agreement shall remain in force as to all the remaining Settlement
Groups unless any of those Settlement Groups agree with the plaintiffs that the agreement is
void and unenforceable as to that particular Settlement Group.

If the PSC receives any Opt-Outs for a particular Contractor and fewer than all of the
Settlors in the Settlement Group seek to void the settlement, the Agreement is void as to that
individual Settlor only and remains in effect as to the remaining Settlors in that Settlors Group.
Such decision to void the Settlement Agreement must be made within fourteen (14) days after
Settlement Group(s) is provided with the list of exclusions/Opt-outs described in Section VII (A)
above, and written notice to the other Settlors in the Settlement Group of the Settlors intention to
void the Settlement Agreement as to that Settlor must be given to the remaining Settlors at least
five (5) days prior to giving notice to the PSC and/or Court.

VII. OBJECTIONS TO SETTLEMENT

A. Any Class Member who has not filed a timely written request for exclusion and
who wishes to object to the fairness, reasonableness or adequacy of this Agreement or the

proposed settlement, must deliver to the Court Clerk, and to Gerald Meunier and David Kurtz at

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the addresses provided in Section (1)(Q) and (1)(MM) herein, a written objection which
references this Action and contains: (i) the name, address, and telephone number of the Class
Member, (ii) a statement of each objection being made, (iii) a detailed description of the legal
authorities underlying each such objection, (iv) a statement of whether the objector intends to
appear at the Faimess Hearing, (v) a list of witnesses whom the objector may call by live
testimony, oral deposition testimony or affidavit during the Fairness Hearing, (vi) a description
of the testimony to be offered. and (vii) a list of the exhibits which the objector may offer during
the Fairness Hearing, along with copies of those exhibits. Such written objection must be
received by the Court Clerk, Gerald Meunier and David Kurtz by August 31, 2012, or the Class
Member shall be forever barred from separately objecting to the Class, separately challenging the
Class or in any way collaterally attacking the Class and/or this Settlement.

B. The Special Master must be notified within two (2) days of any objection properly
mailed. The Special Master shall respond in writing to any timely filed written objection and
shall schedule a hearing to try to resolve the objection. Any person filing the objection must
appear in person at the hearing with and scheduled by the Special Master prior to the Fairness
Hearing, at the date, time, and place set by the Special Master, and then, if the objection is not
resolved, the objector must appear in person at the Fairness Hearing. Any objections which are
not resolved in the hearing before the Special Master will be considered by the Court at the time
of the Fairness Hearing. The objector may hire his or her individual counsel, hired at the
objector’s expense, to appear with the objector at the Special Master’s hearing and/or the
Fairness Hearing.

C. The Court, within its discretion and at the request of the PSC or Settlors’ Counsel,

may order the deposition prior to the Fairness Hearing of any Class Member (and any witness
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identified in the written objection) who has not filed a timely written request for exclusion and
objects to the fairness, reasonableness or adequacy of this Agreement or the proposed settlement.

D. Ifa Class Member hires an attorney to represent him or her, the attorney must: (1)
file a notice of appearance with the Clerk of Court, and (ji) deliver to Gerald Meunier and David
Kurtz, at the addresses provided in Section (1I)(Q) and (I)(MM) herein, a copy of the same, and
(ii) otherwise comply with any order of the Court regarding depositions of objecting Class
Members. The notice of appearance must be received by the Clerk of Court, Gerald Meunier and
David Kurtz by the date set by the Court, or the attorney will not be allowed to appear at the
Fairness Hearing.

E, Any Class Member who files and serves a written objection meeting the
requirements set forth herein, may appear at the Fairness Hearing, either in person or through
personal counsel hired at the Class Member's expense, to object to the fairness, reasonableness or
adequacy of this Agreement or the proposed settlement. Class Members or their attorneys
intending to make an appearance at the Fairness Hearing must deliver to Gerald Meunier at the
address provided in Section HH above, and to David Kurtz at Baker Donelson, 201 St. Charles
Ave., Suite 3600, New Orleans, LA 70170, a notice of intention to appear. Such notice of
intention to appear must be received by the Court, Gerald Meunier and David Kurtz. by August
31, 2012. The Court, within its discretion and at the request of the PSC or Settlors’ Counsel.
may order the deposition prior to the Fairness Hearing of any Class Member (and any witness
identified in the written objection) who has not filed a timely written request for exclusion and
who wishes to appear (either in person or through personal counsel) and object to the fairness.
reasonableness or adequacy of this Agreement or the proposed settlement.

F, No objection shall be heard by the Court that does not comply with the

requirements of this Section, that is not timely filed with the Court, that is not served on Gerald

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Meunier and David Kurtz and filed with the Court at the addresses provided in Section (I)(Q)
and (I)(MM) herein, or when the objecting Class Member (or his/her witness) has failed to
appear and sit for such depositions as ordered by the Court. Any Class Member who fails to
comply with the orders of the Court or provisions of this Section shall waive and forfeit any and
all rights he or she may have to appear separately and/or object, and shal! be bound by all the
terms of this Agreement and by all proceedings, orders and judgments in this Action.

G. The Court, within its discretion, may exercise its right to deem any objection as

frivolous and award appropriate costs and fees to the PSC and/or Settlors’ counsel.

IX. RELEASE AND WAIVER

A. Release and Waiver

1. In return for the consideration provided in the Agreement. the Plaintiffs
and all other Class Members, on their behalf and on behalf of all other Releasors, shall fully and
forever release, waive. compromise, remise, dismiss acquit and discharge the Releasees from the
Released Claims, including but not limited to any and all past, present and future causes of
action, claims, damages (including but not limited to compensatory damages, punitive damages.
or damages from wrongful death), or any other Damages, awards, equitable, legal and
administrative relief. interest, demands or rights that are based upon, related to. or connected
with, directly or indirectly, in whole or in part (1) the Released Claims; or (2) the allegations,
facts, subjects or issues that were, could have been, may be or could be set forth or raised in any
action or in any Pending Action, or (3) exposure to formaldehyde in any EHU.

2, Plaintiffs and all other Class Members, on their own behalf and on behalf
of all other Releasors agree, covenant and acknowledge that they shall not now or hereafter

initiate, participate in, maintain, or otherwise bring any claim or cause of action, either directly

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or indirectly, dertvatively, on their own behalf, or on behalf of the Class or the general public, or
any other person or entity. against the Releasees based on allegations that are based upon or
related to, directly or indirectly, in whole or in part: (1) the Released Claums; (2) the allegations,
facts, subjects or issues that have been, could have been, may be or could be set forth or raised in
any Pending Action; or (3) exposure to formaldehyde in any EHU.

3. Plaintiffs and all other Class Members and all the other Releasors, and
anyone acting on their behalf or for their benefit, without limitation, are precluded and estopped
from bringing any claim or cause of action in the future, related to in any way, directly or
indirectly, in whole or in part: (1) the Released Claims, (2) the allegations, facts. subjects or
issues that have been, could have been. may be or could be set forth or raised in any Pending
Action, or (3) exposure to formaldehyde in any EHU.

4. Plaintiffs and the Class Members, on their behalf and on behalf of all other
Releasors, acknowledge that they are releasing both known and unknown and suspected and
unsuspected claims and causes of action, and are aware that they may hereafter discover legal or
equitable claims or remedies or injuries or damages presently unknown or unsuspected or
unmanifested (including but not limited to personal injury claims), or facts in addition to or
different from those which they now know or believe to be true with respect to the allegations
and subject matters in the complaint or other filings in any Pending Actions. Nevertheless, it is
the intention of Plamtiffs and the Class Members to fully, finally and forever settle and release
all such matters, and all claims and causes of action relating thereto, which exist. hereafter may
exist, or might have existed (whether or not previously or currently asserted in any Pending
Action).

5. Plaintiffs and the Class Members. on their behalf and on behalf of all other

Releasors, hereby expressly acknowledge certain principles of law applicable in some states

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provided that a general release does not extend to claims (including claims related to unknown or
future injuries) that a person does not know or suspect to exist in his or her favor at the time of
executing the release, which if known by him or her may have materially affected his or her
settlement with the Released Parties. Notwithstanding such principles of law (statute, regulation,
or common law) that may apply, Plaintiffs and the Class Members hereby agree and
acknowledge that any such claims (including claims related to unknown or future injuries) are
hereby knowingly and voluntarily released, waived and relinquished by Plaintiffs and the Class
Members, and Plaintiffs and the Class Members agree and acknowledge that this provision is an
essential term of the Agreement and this Release. Plaintiffs, the Class Members, and the PSC
warrant and represent that they have specifically contemplated and bargained for the waiver and
relinquishment of the claims (including claims related to unknown or future injuries) referenced
in this Agreement, including claims that they may not know or suspect to exist at this time and
that, if known, may have materially affected this settlement. Plaintiffs, the Class Members, and
the PSC also warrant and represent that this Agreement, including the referenced waiver and
relinquishment is fair, reasonable, and is being made knowingly, voluntarily. and with all
information necessary for the waiver and relinquishment.
6. Plaintiff and Class Members, on their behalf and on behalf of all other
Releasors, further agree that no third party, including but not limited to any private attorney
general or Cal. Bus. and Prof. Code § 17200 Plaintiff, shall bring any claims released herein on
their behalf.
B. The Parties will seek and obtain from the Court a Final Order and Judgment as
further described below in Section XII. The Final Order and Judgment shall. among other things:
(i) approve this Settlement Agreement as fair, reasonable and adequate, (ii) dismiss all claims

against the Released Parties in the MDL and any Pending Actions, with prejudice on the merits

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with each party to bear his, her or its own costs; and (111) incorporate the terms of the Release as

written herein.

X. ATTORNEYS’ FEES AND EXPENSES

All attorneys’ fees and expenses related to the MDL and any Pending Action shall be

paid out of the Settlement Fund, with prior approval by the Court.

XE FAPRNESS HEARING

If the Court enters the Preliminary Approval Order, the Parties shall proceed with due
diligence to conduct the Fairness Hearing as ordered by the Court. At such Fairness Hearing, the
Parties shall present such evidence as sufficient to justify the Court’s certification of the Class.
Further, at such hearing, the Settlors shall not object to (a) the reasonable presentation of
evidence in support of the certification of the Class for settlement purposes only or (b) the
certification of the Class for settlement purposes only. However, the parties acknowledge and
agree, and shall stipulate to the Court at the Fairness Hearing, that (a) the Class is being certified
for settlement purposes only pursuant to the Settlement Agreement, and (b) the Released Parties
reserve the right to object to class certification de novo in the event this Agreement is terminated
for any reason.

At the Fairness Hearing the Court shall. inter alia, (a) determine whether the Class
should be certified, and (b) if the Court determines that the Class is capable of certification under
Rule 23 of the Federal Rules of Civil Procedure, as requested by the parties, (i) consider any
properly filed objections to the proposed settlement. (ii) determine whether the settlement set
forth in the Settlement Agreement is fair, reasonable and adequate and entered into in good faith

and without collusion and should be approved. and (ili) if appropriate, contemporaneously certify

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the Class and dismiss the MDL and all Pending Actions on the merits with prejudice and with

each party to bear its own costs, except as provided in this Settlement Agreement.

AL. FINAL APPROVAL AND FINAL ORDER AND JUDGMENT

Prior to entering the Final Order and Judgment, the Court shall enter any order necessary
to transfer any Pending Action that is not already part of the Action and/or MDL to the MDL.

The Settlement Agreement is subject to and completely conditional upon (a) the issuance
by the Court and subsequent entry, following the Fairness Hearing, of the Final Order and
Judgment certifying the Class and granting final approval of the Settlement Agreement in
accordance with Rule 23(e) of the Federal Rules of Civil Procedure, and (b) such Final Order
and Judgment becoming final as of the Final Settlement Date. The Final Order and Judgment
shall be substantially in the form attached hereto as Exhibit G or in a form mutually agreeable to
the PSC and Settlors. The Parties shall take all reasonable and necessary actions to obtain the
Final Order and Judgment and to have it made final, as promptly as practicable.

Within five (5) days of the Court entering a Final Order and Judgment in this case. the
PSC shall cause to be dismissed all Pending Actions with prejudice, each party to bear his, her or
its own costs, as to the Released Parties.

In the event that any appeal is filed of the Final Order and Judgment. all remaining
deadlines set forth herein shall be stayed, and all activity of the Special Master and the LRA shall

be stayed, until the Final Settlement Date.

XIV. INDEMNIFICATION

To the extent of each Class Member’s individual net recovery and the extent the claim

described in this section arises out of the claim of the Class Member, each Class Member shall
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defend, mdemnify, and hold harmless the Released Parties from and against: (a) any and all past.
present of future claims, demands, suits, causes of actions, rights of action. liabilities, liens
privileges, or judgment of any kind whatsoever (including all expenses, costs and attorneys fee
expenses related thereto) by, on behalf of, through, or deriving solely from the claims of that
Class Member, or by, on behalf of, through, or deriving from his, her, or its heirs, executors,
representatives, attormeys or former attorneys. successor, employers, insurers, employers’
insurers, health insurers, health care providers, assignee, subrogees, predecessors in interest,
Medicare or Medicaid, TRICARE, the Veteran's Administration, or Indian Health Services,
successors in interest, beneficiaries or survivors related to the Released Claims: and (b) any
claims for Contribution, Indemnity, and/or Subrogation, whether arising under tort, contract or
otherwise, related to or connected in any way with the Released Claims of that Class Member.
The indemnity and defense obligation in this Section shall include any and all claims, demands,
suits, causes of action, rights of action, liabilities, liens or judgment of any kind whatsoever
(including any claims of the Released Parties for reasonable attorneys’ fees and costs} related,
directly or indirectly, to the disbursement of or from. or the failure to make disbursement of or
from, the appropriate Settlement Fund(s) with respect to the Class Member. To the extent that
claims for wrongful death or any other claims of any Class Member have not been released
effectively, that Class Member binds himself or herself, and his or her succession or estate,
executors, heirs, successors, beneficiaries, assignees, and subrogees, to defend. protect,
indemnify. and hold harmless the Released Parties from and against any and all claims, demands,
suits, liabilities. liens judgments. rights of action, or causes of action of any kind whatsoever
related to the Released Claims, whether arising under tort, contract or otherwise, brought by any
person, succession, or estate for the wrongful death or any other claims of that Class Member.

This defense and indemnity obligation is intended to apply to any and all claims for wrongful
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death, whether arising under Louisiana law (including Louisiana Civil Code art. 2315.2) or law
of any other state, and whether presently existing or in existence at the time of the death of the
Class Member. Anything contained in this Settlement Agreement to the contrary
notwithstanding, a Class Member’s obligation to defend, indemnify, and hold harmless the
Released Parties from claims for wrongful death of such Class Member shall be limited to that

Class Member’s individual net recovery.

XIV. MEDICARE REPORTING AND LIEN RESOLUTION

The Parties agree to the following process for resolving possible statutory and other
claims to Class Relief by governmental authorities, making a good fatth effort to adequately
protect the interests of Medicare and other governmental authorities:

A. Appointment of Lien Resolution Administrator. The PSC will hire The Garretson
Firm Resolution Group, Inc. as the LRA to perform certain functions pursuant to this Section
XIV in connection with reimbursement claims that may be asserted by federal Medicare (Part A
and B) (“Medicare”), Medicaid. and certain other governmental health care programs with
statutory rermbursement or subrogation rights, limited to TRICARE, VA, and Indian Health
Services benefits (hereinafter, collectively referred to as “Governmental Authority Third Party
Payer/Providers”). The LRA shall not be responsible for identifying or resolving any other liens
including, without limitation, liens by any other third-party payers, subrogation claims. liens or
other rights to payment relating to medical treatment or lost wages. or any liens based on any
legal expenses, bills or costs that have been or may be asserted by any healthcare provider,
employer, insurer, including any coverage offered through private insurance companies intended
to supplement or replace any pian of a Governmental Authorities Third Party Payer/Provider

(including but not limited to Federal Employees Health Benefit (FEHB) plans such as Blue Cross

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Federal, or Blue 365), or any other person or entity with such reimbursement rights (“Other
Liens”). The LRA’s fees and expenses shall be paid by the PSC, with later reumbursement from
the Settlement Fund after the Court has entered final approval of this Settlement.

B. Any Class Member making a Claim must identify Governmental Authority Third
Party Payer/Provider Reimbursement Obligations to Lien Resolution Administrator. Each
Claimant shall identify, directly, or through counsel, to the LRA all Governmental Authority
Third Party Payers/Providers known to them to hold or assert a statutory reimbursement right
with respect to any individual settlement payment (and/or the right to receive such individual
settlement payment), through procedures and protocols to be established by the LRA. Claimants
and their counsel must cooperate with the procedures and protocols established by the LRA.

C. LRA shall resolve Governmental Authority Third Party Tort Recovery Claims
and Liens. According to the LRA’s procedures and protocols, the LRA shall resolve all
conditional payment reimbursement rights that have been or may be asserted by Medicare
within the meaning of the Medicare Secondary Payer statute (42 U.S.C. §1395y), and all
payment remmbursement rights made by state Medicaid agencies. as appropriate, and any other
federal reimbursement right asserted by TRICARE, Veteran’s Administration or Indian Health
Services based upon the provision of medical care or treatrnent provided to the Class Member on
whose behalf a Claim is filed: provided however, that nothing herein is intended to create a right
of reimbursement where none would otherwise exist under applicable state or federal tort
recovery statutes. LRA shall provide a copy of its reporting form to Settlors through Settlors’
Counsel.

D. LRA shall identify amounts necessary to resolve Governmental Authority Third
Party Tort Recovery Claims and Liens. Within ninety (90) days after the LRA receives the first

list of complete Claim Forms from the Special Master pursuant to Section VI herein, the LRA

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shall, as to each Class Member on that list, certify to Settlors whether: (1) any statutory claim
is being asserted under federal laws by the Centers for Medicare and Medicaid Services (“CMS”)
for federal Medicare (Parts A and B); (2) any statutory lien is being asserted under state laws by
the respective state Medicaid agency which paid for a Class Member’s injury-related medical
expenses; and/or (3) any other federal reimbursement right is being asserted under any of
TRICARE, VA or Indian Health Services, where any such claim and/or lien is determined to
exist. Within ninety (90) days after the LRA receives the second list of complete Claim Forms
from the Special Master pursuant to Section VI herein, the LRA shall, as to each Class Member
on that second list, certify to Settlors whether: (1) any statutory claim is being asserted under
federal laws by the Centers for Medicare and Medicaid Services (“CMS”) for federal Medicare
(Parts A and B); (2) any statutory lien is being asserted under state laws by the respective state
Medicaid agency which paid for a Class Member’s injury-related medical expenses: and/or (3)
any other federal reimbursement right is being asserted under any of TRICARE, VA or Indian
Health Services, where any such claim and/or lien is determined to exist. The LRA shall further
certify to Settlors for all Class Members on both the first and second lists combined either: (1)
the amount to resolve any and all such claims and/or liens as established by the agreement of the
LRA and CMS and the LRA and the other respective federal or state agencies (“Final Statutory
Lien Amount”); or (2) the “holdback” amount agreed to by CMS and the respective federal or
state agencies under which such agencies have agreed to finally resolve their respective statutory
claims and/or liens (“Holdback Amount’). The Final Statutory Lien Amount and/or the
Holdback Amount, whichever is applied, shall be paid from Class Benefits prior to the
disbursement of any Class Benefits.

E. When Funds May Be Disbursed. The Special Master shall not disburse any

settlement monies to any Claimant until Settlors have obtained from all Governmental Authority
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Third Party Payer/Providers satisfactory proof of satisfaction and discharge of all statutory
Medicare ciaims asserted as to any Entitled Class Member, any statutory liens asserted by a state
Medicaid agency or agencies as to any Entitled Class Member, and any statutory reimbursement
or subrogation right asserted by any other Governmental Third Party Payer/Provider, as set forth
in Section XTV (G), along with certification from the LRA as to the same.

F, Compliance with MMSEA. The LRA’s duties include not only ensuring
compliance with all relevant provisions of the Medicare Secondary Payer Act (42 U.S.C.
§1395y) as discussed above, but also include ensuring compliance under Section 111 of the
Medicare, Medicaid and SCHIP Extension Act of 2007 (42 U.S.C. §1395y(b)(8))(MMSEA)).
which poses certain reporting requirements for certain entities involved in settling personal
injury claims involving a Medicare beneficiary. The LRA shall obtain and provide information
satisfactory to Settlors, from the Centers for Medicare and Medicaid Services (“CMS”) central
offices, that all of Settlors’ MMSEA reporting obligations, to the extent applicable to Settlors,
have been satisfied prior to all associated deadlines and/or disbursement of proceeds to
Medicare-entitled Claimants as agreed by the Parties.

G, Proof of Satisfaction of Third Party Payments to Settlors. Settlors shall be
entitled to proof of satisfaction and discharge of any or all such statutory Medicare claims
asserted by CMS in relation to any particular Claimant, any statutory liens asserted by a state
Medicaid agency or agencies. and any statutory reimbursement or subrogation right asserted by
any other Governmental Third Party Payer/Provider, including a copy of the actual closure
documentation that the LRA receives from an Governmental Authority Third Party
Payer/Provider The LRA shall provide to Settlors that proof at the earliest time possible.

H. Indemnity from LRA. The PSC shall seek to secure a mutually agreeable

indemnity agreement from the LRA in favor of the Settlors. Unless the parties agree otherwise,

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this Settlement Agreement shall be conditioned upon the execution of such an indemnity
agreement.

L Access to Information. Settlors shail have access to individual plaintiff
information provided to Garretson as LRA. Plaintiffs’ counsel will provide Settlors initially with
the following personal information for each known claimant: (1) full legal name; (2) date of
birth: (3) full social security number; and (4) sex. Whenever it may be determined by anyone that
reporting to CMS is required with regard to any claimant, plaintiffs’ counsel will further supply
to Settlors any and all additional personal information regarding each such claimant that may be
required by Settlors to enable them to fulfill all Medicare Secondary Payer Mandatory Reporting
requirements. This information will be used by Settlors only for purposes of compliance with
Medicare Secondary Payer Reporting Requirements. Alternatively, if Garretson can present
Settlors with a written confirmed waiver of Settlors' Medicare Secondary Reporting
Requirements as to any one or more claimants, issued by CMS prior to disbursement of any
Class Benefits, then provision of the above-described personal information will not be necessary

as to such claimants.

XV. PSC REPRESENTATION

A. The PSC covenants, represents and warrants to the Settlors that:

1. Prior to the Fairness Hearing, the PSC shall have explained the terms and
effect of this Settlement Agreement to the Class Representatives and their signatures shall
have been obtained in support of this Settlement Agreement; such signatures shall be

filed into the record of the Action at the Fairness Hearing.
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2. The PSC has not and will not make any undisclosed payment or promise
to any Class Representative for the direct or indirect purpose of obtaining that Class
Representative’s consent to the Agreement.

3. No member of the PSC will represent any Class Member requesting
exclusion from the Class if to do so would constitute a violation of the Rules of
Professional Conduct.

4. The PSC and the Class Members are solely responsible for the payment of
any liens against the Class Benefits received. No Class Benefits will be disbursed to any
Class Member until all valid liens are paid.

5. The PSC represents that no Class Member has assigned any of his/her/its
rights of action herein to anyone else.

B. Except as otherwise provided herein, without prior written approval of the Court,
the PSC will not use, distribute, give, sell. or transfer any materials obtained from any one or
more of the Settlors as a result of the MDL or the Pending actions for use in any other litigation
or purpose.

C. The PSC, the Class. and the Settlors shall use their best efforts to conclude the
settlement and obtain the Final Order and Judgment. The PSC, the Class, and the Settlors agree
that it is essential that this proposed settlement be prosecuted to a successful conclusion in
accordance with all applicable provisions of law and the exercise of good faith on the part of the
PSC, the Class, and the Settlors. Inherent in the accomplishment of this mutual goal is the
understanding among the Parties that the PSC, the Class, and the Settlors assume the mutual
obligation to cach other to assist and cooperate in the effectuation of the settlement in accordance
with all applicable legal requirements. To that end. the PSC, the Class, and the Settlors commit

to affirmatively support the settlement in the event of appeal, to maintain the integrity and goals
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of the settlement in all further proceedings in the Action, and to take such action as may be
legally proper to assure the jurisdiction of the Court in this and all subsequent proceedings. The
PSC, the Class, and the Settlors agree to be bound by and to the terms of this settlement in any
court of competent jurisdiction to the same extent as they agree to be bound herein, to which end
the PSC, the Class, and the Settlors agree that the terms hereof are contractual, binding and
enforceable obligations and not merely a recital. In furtherance of this Agreement, the PSC, the
Class, and the Settlors agree to take such action as may be appropriate to secure court approval

of the terms of this settlement in a court of competent jurisdiction.

D. The PSC further warrants and represents to the Settlors that it has the full
authority to enter into this Settlement Agreement on behalf of and bind the Class and all of the

Plaintiffs and their attorneys in the MDL and the Pending Actions.

AVE STAY ORDERS

Simultaneously with the filing of this Settlement Agreement with the Court, the Parties
shall submit to the Court a joint motion for stay of the Pending Actions signed by or on behalf of
the Class. the PSC. and the Settlors, with a proposed form of stay order attached thereto,
pursuant to which stay order, the Court shall enjoin and stay, during the pendency of the
settlement proceedings contemplated by this Agreement, the commencement and/or prosecution
of any and all Pending Actions or any other action by any Class Member or anyone on his or her
behalf against any of the Releasees asserting Released Claims. such stay and injunction to
remain effective during the pendency of such settlement proceedings unless modified by further

order of the Court. The Parties shall use their best efforts to obtain this stay order.

XVI. ENTIRE AGREEMENT AND SEVERABILITY

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The Settlement Agreement, including the Individual Settlement Sheets attached hereto
collectively as Exhibit “A.” together with the Memoranda of Understanding executed by the
individual Settlors and/or Settlement Groups, if any, contain the entire agreement between the
Parties with respect to the subject matter hereof and, except as specifically set forth herein or
therein, supersedes and cancels all previous agreements, negotiations, and commitments in
writings between the Parties hereto with respect to the subject matter hereof. This Settlement
Agreement may not be changed or modified in any manner unless in writing and signed by a
duly authorized officer of each Settlor, and a duly authorized representative of the PSC. The
terms of this Settlement Agreement may be amended by agreement of the Parties and with
approval of the Court without further notice to the Class, if such changes are consistent with the
Preliminary Approval Order and do not limit the rights of Class Members. This Settlement
Agreement may be signed in multiple counterparts, each of which shall be deemed to be an
original and all of which shall be deemed to be one and the same instrument.

This Settlement Agreement shall be binding on the successors and assigns of the Parties.

If any court of competent jurisdiction determines any portion of this Settlement
Agreement is unenforceable and/or void for any reason, that unenforceable provision shall be
severed and the remaining portions of this Settlement Agreement will remain in full force. unless
removing the remaining provision materially alters the provisions of the Settlement Agreement.
In that event, the entire Settlement Agreement will not be enforceable unless agreed to by the

Parties.

XVIIE. NOTICE TO COUNSEL

Anytime that notice to or delivery of any document to Settlors’ Counsel or the PSC is

required as set forth in this Agreement, such notice and/or documentation shall be mailed to
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Settlors’ Counsel at the addresses listed in on the Individual Settlement Sheets for each Settior
and/or Settlement Group, and to the PSC at the address listed in Section IMM) (“PSC”
definition) of this Agreement, unless otherwise specified.
XIX. MANUFACTURED HOUSING CONTINGENCY

This Agreement, and all other related documents and agreements, shall become voidable
at the discretion of any Settlor if, at the time of the Fairness Hearing, no final and non-appealable
judgment has been entered (or if any appeal of such judgment is pending), that fully and finally
dismisses all claims agamst any Settlor from any and all claims arising from or relating to any
EHU that is not a travel trailer or park model, such as a “mobile home” or “manufactured
housing.” If fewer than all Settlors elect to void this Agreement in accord with this Section, this
Agreement shall remain mm effect as to all other Settlors.

Agreed to this 297% day of May. 2012.

Gerdid E. Meunier

Justin |. Woods

Gainsburgh, Benjamin. David, Meunier &
Warshauer, LLC

2800 Energy Center

1100 Poydras St.

New Orleans, LA 70163

On behalf of the PSC and Plaintiffs/Class Members

AQ
